      Case 3:02-cr-00095-LC     Document 202     Filed 05/08/06   Page 1 of 3



                                                                            Page 1 of 3


               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

UNITED STATES OF AMERICA,


vs.                                          3:02cr95/LAC
                                             3:06cv79/LAC/MD

STEVEN WATTS


                        REPORT AND RECOMMENDATION

      This matter is before the court upon a motion to vacate, set aside, or correct
sentence pursuant to 28 U.S.C. §2255 (doc. 197).       The government has filed a
motion to dismiss the motion to vacate as untimely. (Doc. 201). Upon consideration
of the record before the court, it is the opinion of the undersigned that the motion
to dismiss should be denied and the government ordered to respond to the merits
of the defendant’s motion.
      The defendant was convicted after a jury trial of conspiracy to possess with
intent to distribute more than fifty (50) grams of cocaine base and more than five
hundred (500) grams but less than five (5) kilograms of cocaine. (Doc. 138). He was
sentenced on November 24, 2003 to a term of 364 months imprisonment, followed
by ten years of supervised release, a fine of $1,000 and a $100 special monetary
assessment. (Doc. 146, 147). His conviction and sentence were affirmed by the
Eleventh Circuit Court of Appeal on October 20, 2004. (Doc. 193). His petition for
certiorari review with the United States Supreme Court was denied on February 22,
2005. Watts v. United States, 543 U.S. 1174, 125 S.Ct. 1369, 161 L.Ed.2d 158 (2005).
          Case 3:02-cr-00095-LC              Document 202            Filed 05/08/06         Page 2 of 3



                                                                                                           Page 2 of 3


The instant motion was filed pursuant to the prison mailbox rule1 on February 19,
2006. (Doc. 197).
         Title 28 U.S.C. § 2255 now imposes a one year time limitation on the filing of
motions under this section. The one year period of time runs from the latest of:
                  (1) the date on which the judgment of conviction becomes
                  final;
                  (2) the date on which the impediment to making a motion
                  created by governmental action in violation of the
                  Constitution or laws of the United States is removed, if the
                  movant was prevented from making a motion by such
                  governmental action;
                  (3) the date on which the right asserted was initially
                  recognized by the Supreme Court, if that right has been
                  newly recognized by the Supreme Court and made
                  retroactively applicable to cases on collateral review; or
                  (4) the date on which the facts supporting the claim or
                  claims presented could have been discovered through the
                  exercise of due diligence.

28 U.S.C. §2255. The government concedes that February 22, 2005, the date that the
United States Supreme Court denied certiorari, is the date that the defendant’s
conviction became final and the one year time period for filing a § 2255 motion
began. See Barnes v. United States, 437 F.3d 1074 (11th Cir. 2006). Its assertion that
the instant § 2255 motion was filed on February 26, 20062 overlooks the application
of the prison mailbox rule, pursuant to which the defendant’s motion was clearly
timely.




         1
           Houston v. Lack, 487 U.S. 266, 108 S.Ct. 2379, 101 L.Ed.2d 245 (1988) (holding that a pro se
inm ate ’s notice of appeal was filed as of the time he placed it in the prison mailbox, thus creating the “prison
mailbox rule”); W ash ington v. Un ited States, 243 F.3d 1299, 1301 (11th Cir. 2001) (absent evidence to the
contrary, court assumes that a pro se petition is delivered to prison authorities for mailing the date it was
signed); Adams v. United States, 173 F.3d 1339 (11th Cir. 19 99).

         2
            The co urt ’ s elect ron ic d oc ket ing sy st em ref lect s t hat the mot ion w as physically received by
t h e c lerk o n Feb ru ary 2 8 , 2 0 0 6 a n d en t ered on t o t h e d oc k et t h e f o llo w in g d ay .

Case No: 3:02cr95/LAC; 3:06cv79/LAC/MD3
         Case 3:02-cr-00095-LC              Document 202     Filed 05/08/06   Page 3 of 3



                                                                                        Page 3 of 3


        Accordingly, it is respectfully RECOMMENDED:
        The government’s motion to dismiss (doc. 201) be DENIED, and it be directed
to respond to the defendant’s motion to vacate within thirty days of an order
adopting this recommendation.


        At Pensacola, Florida, this 8th day of May, 2006.



                                               /s/   Miles Davis
                                                     MILES DAVIS
                                                     UNITED STATES MAGISTRATE JUDGE



                                          NOTICE TO THE PARTIES

Any objections to these proposed findings and recommendations must be filed within ten
days after being served a copy thereof. A copy of objections shall be served upon the
magistrate judge and all other parties. Failure to object may limit the scope of appellate
review of factual findings. See 28 U.S.C. § 636; Local Rule 27(B); United States v. Roberts,
858 F.2d 698, 701 (11th Cir. 1988).




Case No: 3:02cr95/LAC; 3:06cv79/LAC/MD3
